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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

TAMARA M. LOERTSCHER,

        Plaintiff,                                   AMENDED JUDGMENT
                                                       IN A CIVIL CASE
   v.
                                                      Case No. 14-CV-870-JDP
BRAD D. SCHIMEL, ELOISE ANDERSON,
and TAYLOR COUNTY,

        Defendants.


      This action came before the court for consideration with District Judge
James D. Peterson presiding. The issues have been considered and a decision has
been rendered.


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants Brad D. Schimel, Eloise Anderson, and Taylor County against plaintiff

Tamara M. Loertscher dismissing the case as moot.




        s/ K. Frederickson, Deputy Clerk                   July 26, 2018
        Peter Oppeneer, Clerk of Court                          Date
